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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

  SEANTAI SUGGS, BOBBY SUGGS                )
                                            )
                       v.                   )      Nos. 2:06 CV 7, 2:06 CV 10
                                            )      (arising from No. 2:01 CR 98)
  UNITED STATES OF AMERICA                  )

                                          ORDER

         Seantai Suggs (2:06 CV 7) and Bobby Suggs (2:06 CV 10), brothers and

  codefendants, have both filed motions to vacate their sentences and convictions

  pursuant to 28 U.S.C. § 2255.1 A motion under § 2255 allows a federal prisoner “in

  custody . . . claiming a right to be released” to attack his sentence on the grounds that

  it was imposed “in violation of the Constitution or laws of the United States, or that

  the court was without jurisdiction . . ., or that the sentence was in excess of the

  maximum authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C.

  § 2255 ¶ 1. “If it plainly appears from the motion, any attached exhibits, and the

  record of prior proceedings that the moving party is not entitled to relief, the judge

  must dismiss the motion and direct the clerk to notify the moving party.” RULE 4,




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           On June 23, 2005, Seantai Suggs filed a motion requesting a transcript of a
  hearing held on July 9, 2002, concerning his request, prior to his criminal trial, to be
  appointed a new attorney. Because that hearing was never transcribed and because
  Seantai had no § 2255 motion pending, he needed to order the transcript from the court
  reporter at his own expense. See 28 U.S.C. § 753(f); United States v. MacCollom, 426 U.S.
  317, 96 S. Ct. 2086, 48 L. Ed. 2d 666 (1976). In his motion he gave no reason why he
  needed the transcript, and he has filed his § 2255 motion without mentioning the
  transcript request or the July 9, 2002, hearing at all. Accordingly, the June 23, 2005,
  motion is now DENIED.
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  RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED STATES DISTRICT

  COURTS.

         With only one difference, the motions filed by Seantai and Bobby Suggs raise

  the same issues, and the supporting memoranda are virtually verbatim copies. For this

  reason, the court will address the motions jointly in this memorandum, referring to the

  brothers as “the Suggses,” and using their first names when it is necessary to identify

  them individually.

         On July 31, 2002, a jury found the Suggses guilty of conspiracy to possess with

  intent to distribute 50 grams or more of cocaine base in violation of 21 U.S.C. § 846.

  Both were also found guilty of additional charges. Bobby was found guilty of

  possession with intent to distribute marijuana in violation of 21 U.S.C. § 841(a)(1); and

  three counts of using a telephone to facilitate a drug-trafficking crime in violation of 21

  U.S.C. § 843(b). Seantai was found guilty of two counts of distributing cocaine base in

  violation of 21 U.S.C. § 841(a)(1); one count of possession with intent to distribute

  cocaine base in violation of 21 U.S.C. § 841(a)(1); and one count of using a telephone to

  facilitate a drug-trafficking crime in violation of 21 U.S.C. § 843(b).

         The court sentenced Bobby on October 29, 2002, to a term of imprisonment for

  life on the conspiracy conviction, and 48 months on each of the other charges, to be

  served concurrently. Seantai was sentenced on December 10, 2002, to a term of

  imprisonment for life on the conspiracy conviction, 48 months on the telephone

  facilitation charge, 240 months on one of the distribution charges, and 480 months on

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  the other distribution charge and the possession with intent charge, all to be served

  concurrently. The Suggses both took direct appeals, and their convictions and

  sentences were affirmed. United States v. Suggs, 374 F.3d 508 (7th Cir. 2004). Their

  petitions for certiorari were denied on January 10, 2005. Suggs v. United States, 543 U.S.

  1079, 125 S. Ct. 939, 160 L.Ed.2d 822 (2005). Both timely filed their § 2255 motions

  within one year thereafter.

         The Suggses raise a claim of ineffective assistance of counsel, based on seven

  grounds. First, that their attorneys failed to file a motion seeking to suppress evidence

  and contesting the validity of the search warrants pursuant to which the evidence was

  seized. Second, that their attorneys failed to move to dismiss the indictment because it

  was obtained via perjured testimony presented to the grand jury. Third, that their

  attorneys failed to object to the court submitting an erroneous special verdict form to

  the jury. Fourth, that their attorneys failed to request a limiting instruction on evidence

  of the Suggses’ affiliation with a street gang, the Concord Affiliated (often referred to

  by the abbreviation “CCA,” which the court will use in this order). Fifth, Bobby argues

  that his attorney failed at sentencing to object to the court’s findings, based on a

  preponderance of the evidence, concerning drug quantities used to calculate his

  sentences under the United States Sentencing Guidelines (“Guidelines”). Seantai’s fifth

  argument is that his attorney failed to submit his objections to the presentence report

  in a timely fashion, which resulted in the court ignoring them entirely. Sixth, that their

  attorneys failed, at sentencing, to argue that the government had improperly

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  prolonged its investigation in order to increase their sentences. Seventh, and last, that

  an attorney who jointly represented them on appeal was ineffective for not raising and

  preserving the drug-quantity/sentencing issue pursuant to Blakely v. Washington, 542

  U.S. 296, 124 S. Ct. 2531, 159 L. Ed. 2d 403 (2004).

         To establish that they received ineffective assistance of counsel, the Suggses

  must satisfy a two-pronged test, establishing both deficient performance by the

  attorney, and prejudice resulting therefrom. Strickland v. Washington, 466 U.S. 668, 687,

  104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). Establishing a deficient performance is difficult,

  because the Suggses must show that the errors made were so serious that they were

  deprived of “counsel” within the meaning of the Sixth Amendment, in the face of a

  strong presumption that counsel rendered adequate assistance and made significant

  decisions in the exercise of his reasonable professional judgment. Id., 466 U.S. at 690,

  104 S. Ct. at 2066. If a deficient performance is established, the Suggses must then

  establish prejudice, that is, a reasonable probability that, were it not for the attorney’s

  mistakes, the proceeding would have had a different outcome. Id., 466 U.S. at 694, 104

  S. Ct. at 2052. If the court decides that an insufficient showing has been made on either

  prong of the test, then the ineffective-assistance claim should be denied. Id., 466 U.S. at

  697, 104 S. Ct. at 2069.

         Although the Suggses have raised seven different issues, each of which they

  believe establish ineffective assistance, it must be kept in mind that:



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                  [I]neffective assistance of counsel is a single ground for
                  relief no matter how many failings the lawyer may have
                  displayed. Counsel’s work must be assessed as a whole; it is
                  the overall deficient performance, rather than a specific
                  failing, that constitutes the ground of relief.

  Peoples v. United States, 403 F.3d 844, 848 (7th Cir. 2005) (citing Bell v. Cone, 535 U.S.

  685, 697 (2002); Strickland, 466 U.S. at 690; Holman v. Gilmore, 126 F.3d 876, 881-84 (7th

  Cir. 1997)). Thus, while the court addresses each issue raised by the Suggses

  individually, it is counsel’s performance as a whole that must be judged.

         Taking the issues in the order that the Suggses raise them, they argue first that

  their attorneys were ineffective for failing to move to suppress evidence and for failing

  to request a Franks2 hearing to challenge the validity of the search warrants by which

  the evidence was obtained. Although the Suggses devote nearly eight pages to legal

  argument, explaining at some length the importance of determining whether evidence

  has been lawfully seized, and the circumstances in which a defendant is entitled to a

  Franks hearing, there is not a single allegation of any fact suggesting that the warrants

  and/or seizures were improper. The closest the Suggses get is to argue that because

  their attorneys did not conduct an adequate investigation and air all of the facts at a

  suppression and/or Franks hearing, and highly prejudicial evidence was introduced at

  trial, it is impossible to tell now exactly what prejudice they suffered: “Due to the

  magnitude of the aforementioned, petitioner cannot ascertain the taint of the evidence,



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             Franks v. Delaware, 438 U.S. 154, 155-56, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978).

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  therefore an evidentiary hearing is warranted.” Bobby’s Memorandum in Support at

  11; Seantai’s Memorandum in Support at 12.

         Essentially, the Suggses are arguing that their trial counsel should have used

  the hearings as fishing expeditions and are requesting to do the same now. The vague

  suggestion that a thorough investigation and/or evidentiary hearing might reveal

  something amiss with the warrants and evidence seized is not enough to pass the first

  prong of the Strickland test. See United States v. Herrera-Rivera, 25 F.3d 491, 496 (7th Cir,

  1994); see also Williams v. Washington, 59 F.3d 673, 684 (7th Cir. 1995) (“failure to

  investigate cannot be used as a substitute for proof of prejudice”). Without any

  explanation or argument by the Suggses as to what was wrong with the search

  warrants or the seizures pursuant thereto, they raise not even a slight hint of

  ineffective assistance of counsel.

         Second, the Suggses argue that their attorneys were ineffective for failing to

  move to dismiss the indictment because perjured testimony was presented to the

  grand jury. When the government knowingly presents inaccurate information to the

  grand jury, the court can dismiss the indictment:

                “only if it is established that the violation substantially
                influenced the grand jury's decision to indict, or if there is
                grave doubt that the decision to indict was free from the
                substantial influence of such violations.” United States v.
                Brooks, 125 F.3d 484, 497 (7th Cir. 1997) (quoting Bank of Nova
                Scotia v. United States, 487 U.S. 250, 256, 108 S. Ct. 2369, 101
                L. Ed. 2d 228 (1988)) (internal quotations omitted); see also
                United States v. Geisler, 143 F.3d 1070, 1072 (7th Cir. 1998). In
                other words, “[a] district court may not dismiss an

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                indictment for errors in grand jury proceedings unless such
                errors prejudiced the defendants.” Brooks, 125 F.3d at 497
                (quoting United States v. Mechanik, 475 U.S. 66, 78, 106 S.Ct.
                938, 89 L.Ed.2d 50 (1986)).

  United States v. Vincent, 416 F.3d 593, 600 (7th Cir. 2005).

         The Suggses point to Special Agent Bradley Bookwalter’s testimony in the

  grand jury. Agent Bookwalter testified that Michael Carter, who became a

  codefendant, had made a statement to him concerning an arson in which two children

  were killed. Carter’s statement, reporting what other CCA members had said to him

  and what he observed, was to the effect that other members of the CCA carried out the

  arson at Bobby Suggs’ direction, as retaliation against the occupant of the residence for

  calling the police and reporting the gang’s drug-dealing activities in her

  neighborhood. The Suggses argue that this testimony was presented to the grand jury

  purely to obtain their indictments via its emotional bombast, because the government

  already had evidence in its possession showing that the fire was the result of “careless

  smoking,” not arson, consistent with testimony at trial showing that no one was ever

  charged with arson and, concomitantly, that Bobby Suggs had no involvement.

         The evidence that the Suggses point to in order to show that the government

  already knew, when Bookwalter testified in the grand jury, that the fire was caused by

  careless smoking, is a Gary Fire Department arson investigation report dated the day

  after the fire. The report states that although two dogs were used to sniff for

  accelerants, the investigators “could not find any concluding evidents [sic] that and


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  [sic] outside source or agent was pourd [sic] on the interior or the exterior of this

  apartment,” and that “the ignition source might have been careless smoking

  materials.” The report concluded that the origin of the fire was “undetermind [sic]

  pinning [sic–pending] futher [sic] investigation.” Obviously, this report establishes

  neither that the government knew that the fire was not arson nor that arson was in fact

  not the cause.

         In addition, the court fails to understand how the Suggses believe that the

  testimony at trial indicates that the fire was not arson and that Bobby had no

  involvement with it. As the Court of Appeals noted in affirming the convictions, the

  government offered evidence at trial that other members of the CCA/conspiracy

  “purportedly acting on orders from Bobby {Suggs], committed a violent reprisal

  against a local citizen who had called the police about drug activity in the

  neighborhood.” Suggs, 374 F.3d at 514. To provide one example from the evidence at

  trial, Michael Carter testified that he saw other members of the CCA (Bobby Davis,

  Eddie Dupries, “Shorty Rough” and “Pee Wee”) carrying a Carlos Rossi wine jug

  filled with gasoline, and they told him that Bobby Suggs had told them to “burn

  Cheryl [Bridgewater] out the house.” Tr. Vol. III at 46.

         For the reasons just stated, the court does not believe that the Suggses have

  demonstrated that false testimony was used to obtain their indictments. But even

  were this not the case, that is, assuming that the grand jury did hear false evidence, as

  noted above an indictment cannot be dismissed unless it is established that the false

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  evidence substantially influenced the grand jury's decision to indict or if the court has

  grave doubt that the decision to indict was free from the substantial influence from the

  violation. Vincent, 416 F.3d at 600. Given the overwhelming evidence of the Suggses’

  connection to the drug crimes charged, the court does not believe that the grand jury

  was swayed to indict because of the emotional impact of the evidence concerning the

  fire, which means that the Suggses suffered no prejudice from their attorney’s failure

  not to seek dismissal of the indictment.

        Arriving at the same conclusion for a slightly different reason, the rationale for

  the rule protecting defendants from the use of perjured testimony in the grand jury is

  to prevent the indictment and trial of innocent persons. Id. at 601-602. When, as here, a

  petit jury finds a defendant guilty of the crimes charged beyond a reasonable doubt,

  any error that occurred in the grand jury is harmless. Id. Once again, this means that

  the Suggses cannot show that their attorneys’ failure to raise the grand jury issue

  resulted in prejudice. To summarize, the Suggses have not shown the court that the

  grand jury heard any perjured testimony and, even if the testimony they point to was

  false, they have not shown that their attorneys’ failure to raise the issue caused any

  prejudice. Thus, they have not identified any viable ground on which to base an

  ineffective assistance of counsel claim.

        Third, the Suggses argue that their attorneys failed to object to the court’s use of

  an improper special verdict form on the charge of conspiracy to possess with intent to

  distribute 50 grams or more of cocaine base. The Suggses argue that the verdict form

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 used by the court was erroneous because it did not require the jury to unanimously

 agree on only one drug quantity under 21 U.S.C. § 841(b)(1)(A). Instead, it instructed

 the jury to place a check mark “next to any of the following propositions upon which

 you unanimously find beyond a reasonable doubt,” and the jury placed a check mark

 next to both “[t]he object of the conspiracy involved fifty (50) grams or more of cocaine

 base,” and “[t]he object of the conspiracy involved five (5) grams or more of cocaine

 base.” The Suggses argue that their attorneys should have objected to the jury being

 allowed to select the same substance twice.3

       This is not an inconsistent verdict or erroneous verdict form, and the Suggses

 fail to explain how it caused any prejudice. A conspiracy involving 50 grams or more

 of crack cocaine necessarily also involves 5 grams or more of that substance. Thus, the

 jury’s verdicts on the conspiracy charge would have been inconsistent if the jury had

 checked 50, but not checked 5. All that really matters here is that the jury unanimously

 agreed on the largest quantity, which exposed the Suggses to the maximum statutory

 penalty. Thus, the Suggses have not shown that their attorneys’ failure to object to the

 special verdict form provides any basis for an ineffective assistance of counsel claim.



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          The Suggses’ argument here stems in part from a mistake on their part
 regarding the special verdict form submitted to the jury. The form the Suggses have
 attached to their motions is a draft that was passed out at the court’s instruction
 conference, which did instruct the jury to select only one quantity. However, the form
 ultimately used instructed the jury to place a check mark next to any quantity on which
 they unanimously agreed. Thus, the jury did not, as the Suggses believe, disregard the
 instructions on the form.

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        Fourth, the Suggses argue that their attorneys were ineffective for failing to

 request a limiting instruction on the evidence of the Suggses’ affiliation with the CCA.

 In their direct appeals, the Suggses raised the issue whether the court erred by not

 giving this instruction. The Court of Appeals held that it was not plain error for the

 court to fail to give this instruction sua sponte, commenting that it was “very possible

 that Defendants’ lack of a request for such an instruction was a tactical decision to

 avoid emphasizing gang membership,” Suggs, 374 F.3d at 518, a possibility strongly

 suggested by the fact that not one of three capable defense attorneys requested the

 instruction. Thus, the Suggses cannot overcome the strong presumption that their

 attorneys were pursuing a sound trial strategy.4 Strickland, 466 U.S. at 689, 104 S.Ct.

 2052; Cosby v. Sigler, 435 F.3d 702, 707 (7th Cir. 2006). In addition, given the substantial

 evidence of the Suggses’ guilt, the court does not believe that any prejudice could have

 resulted from the failure to give a limiting instruction on the gang-affiliation evidence.

        Fifth, Bobby argues that his attorney failed at sentencing to object to the court’s

 findings, based on a preponderance of the evidence, concerning drug quantities used

 to “trigger a higher statutory penalty range.” Bobby’s Memorandum in Support at 20.


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          Citing Wiggins v. Smith, 539 U.S. 510, 123 S. Ct. 2527, 156 L. Ed. 2d 471(2003), the
 Suggses assert that their attorneys “cannot hide behind the shield of strategy.” Bobby’s
 Memorandum in Support at 18; Seantai’s at 19. In Wiggins the Court found that
 counsels’ decision not to investigate mitigating evidence in a capital sentencing case
 was objectively unreasonable on the basis of prevailing professional norms, and so
 could not be justified as a strategic decision. This is far different from the present case,
 where a decision not to emphasize gang affiliation by requesting a limiting instruction
 is an objectively reasonable and competent strategy.

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 As noted above, the jury found Bobby guilty of a conspiracy involving 50 grams or

 more of cocaine base, which exposed him to a penalty of up to life in prison. 21 U.S.C.

 § 841(b)(1)(A)(iii). Thus, Suggs’s reference to the “statutory penalty range” can only

 mean that he is referring to the range under the Sentencing Guidelines, not 21 U.S.C.

 § 841.

          By doing so, it is clear that Suggs is relying on Blakley and Booker, and at the

 time he was sentenced, neither case had been decided. When Suggs was sentenced,

 this court was not alone in thinking that Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct.

 2348, 147 L. Ed. 2d 435 (2000), impacted the statutory penalty ranges under § 841, but

 did not apply to the calculation of Sentencing Guidelines ranges for those penalties. In

 other words, Suggs is arguing that his attorney was ineffective at sentencing for not

 anticipating Blakely, and the Court of Appeals has called ineffective-assistance

 arguments in this vein untenable. Fuller v. United States, 398 F.3d 644, 650 n. 4 (7th Cir.

 2005) (quoting United States v. Smith, 241 F.3d 546, 548 (7th Cir. 2001)). This is because

 “[t]he Sixth Amendment does not require counsel to forecast changes or advances in

 the law.” Lilly v. Gilmore, 988 F.2d 783, 786 (7th Cir.1993); see also Valenzuela v. United

 States, 261 F.3d 694, 700 (7th Cir. 2001).

          Seantai’s fifth argument is that his attorney’s objections to the presentence

 report, summarized by the probation officer in a second addendum, were untimely

 which resulted in the court completely ignoring them. The sentencing transcript

 completely disproves this assertion. Seantai’s counsel made five objections: 1) to the

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 sufficiency of the evidence of the offense conduct; 2) to the firearms adjustment under

 Guidelines § 2D1.1)b)(1); 3) to the drug type and quantity; 4) to the leadership

 adjustment under Guidelines § 3B1.1(b); and 5) to the imposition of a fine. The court

 heard arguments from counsel on each of these issues and addressed them all,

 overruling all but the last.

        Sixth, the Suggses argue that their attorneys were ineffective at sentencing for

 failing to object that the government had improperly prolonged its investigation in

 order to increase their sentences, citing United States v. Garcia, 79 F.3d 74 (7th Cir.

 1996). They assert that it was improper for the government to begin its investigation in

 1996 and not seek to indict until 2001.

        This skeletal argument is entirely unconvincing. The conspiracy charged in this

 case was large and complex: the government ultimately brought indictments against

 18 conspirators and there were more who were not charged. The Suggses do not

 explain why it was unreasonable for the investigation to take as long as it did, to

 ensnare as many participants as possible. Besides that point, Garcia, the case the

 Suggses rely on, holds that the claim of sentencing manipulation that the Suggses are

 making is not available in this circuit. Garcia, 79 F.3d at 76 (“In short, the Constitution

 does not protect a criminal from himself by requiring the government to arrest the

 criminal before he commits another crime.”) Thus, the Suggses attorneys were not

 ineffective for failing to raise this issue.



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        Finally, the Suggses argue that an attorney who filed a consolidated brief on

 their behalf on appeal was ineffective for not raising and preserving the drug-

 quantity/sentencing issue pursuant to Blakely. Although, the Suggses’ appeals were

 argued in February, 2004, before Blakely was issued in June of that year, they were

 decided a month after Blakely. One week after the Suggses’ appeals were decided, the

 Court of Appeals applied Blakely to hold that judicially-determined facts that increase

 a defendant’s sentence under the Guidelines violate the sixth-amendment right to a

 jury trial. United States v. Booker, 375 F.3d 508 (7th Cir. 2004). The Suggses argue that

 their attorney should have raised Blakely in a supplemental brief prior to their appeals

 being decided, and/or along with the appellate decision in Booker in a petition for

 rehearing that he did file, instead of taking the position (because of his ineffectiveness,

 according to the Suggses) that Booker would first need to be decided by the Supreme

 Court, and then the issue raised in the district court if appropriate. The Suggses

 compare themselves to one of their codefendants, Terraun Price, who in a separate

 appeal did obtain a limited remand pursuant to United States v. Paladino, 401 F.3d 471

 (7th Cir. 2005), because, according to the Suggses, his attorney filed a supplemental

 brief raising Blakely.

         The Suggses’ comparison to codefendant Price is inapt, because Price’s appeal

 was argued in February, 2005, after the Supreme Court issued its opinion affirming the

 Court of Appeals’ Booker decision. United States v. Booker, 543 U.S. 220, 125 S. Ct. 738,



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 160 L. Ed. 2d 621 (2005). This explains the Paladino remand in Price’s case.5 But the

 Suggses’ appeal was decided before either the Court of Appeals’ or Supreme Court’s

 Booker decision. So, not only did their attorney not have those cases to rely on, as is

 explained immediately below, it was not unreasonable for him not to make a Booker-

 type argument because of Blakely.

        As noted, Blakely was decided while the Suggses’ appeal was pending, and the

 Suggses argue this makes their situation almost exactly like the defendant in Ballard v.

 United States, 400 F.3d 404 (6th Cir. 2005). In that case, the appellate court found that

 Ballard’s counsel had rendered ineffective assistance on appeal by not making

 arguments based on Apprendi, which was decided while the appeal was pending. One

 of Ballard’s codefendants did raise Apprendi and obtained relief. There is an important

 distinction from the present case, however. The underlying issue in Ballard was that

 Ballard’s trial counsel (unlike her codefendant’s) had not requested a special verdict to

 determine whether Ballard was responsible for transporting cocaine or marijuana, and

 it was impossible to determine with certainty from the evidence the ground on which

 the jury’s verdict rested. Thus, both Apprendi and a Sixth Circuit case decided while

 Ballard’s appeal was pending provided good issues to raise on appeal.




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         It should be noted that on remand, this court indicated it would have given
 Price the same sentence even knowing the Guidelines were advisory, because of the
 strength and nature of the evidence. This suggests that the Suggses suffered no
 prejudice from not obtaining a Paladino remand.

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       In the present case, a special verdict form was used to obtain a jury decision

beyond a reasonable doubt on drug type and quantity, and the jury’s findings on the

issues were supported by the evidence. Although Blakely, decided while the Suggses’

appeals were pending, provided grounds for an argument that this still wasn’t enough

for Guidelines-sentencing purposes, there were equally good (or so it appeared at the

time) arguments to think that Blakely did not impact the Guidelines unless the Supreme

Court declared that to be the case in the Booker appeal, as explained by Judge

Easterbrook’s dissent in the Booker appellate decision. Booker, 375 F.3d at 516-20

(Easterbrook, J., dissenting). As a result, this court believes the Suggses’ appellate

counsel’s belief that the Suggses should wait for the Supreme Court to decide Booker

did not deviate so far from the standard of professional competence as to be an

ineffective performance.

       Finally, even were this court inclined to find that the Suggses’ attorney should

have raised Blakely and Booker, allowing them to do so now would amount to a

retroactive application of Booker, which is prohibited by current precedent.6 McReynolds

v. United States, 397 F.3d 479 (7th Cir. 2005); see Smith, 241 F.3d at 549 (assuming that

§ 2255 movant could establish counsel ineffective for not raising Apprendi issue,



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         The court notes that Seantai, acting pro se, did file a motion to recall the
 mandate, which the Court of Appeals denied, but without prejudice to renewal, if
 appropriate, after the Supreme Court’s decision in Booker. Appeal No. 03-1091, docket
 entry of October 5, 2004. It appears that Seantai has chosen not to avail himself of that
 opportunity.

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potential non-retroactivity of Apprendi might bar relief anyway: “few constitutional

arguments apply retroactively on collateral attack even if properly preserved”). For all

of these reasons, the court does not believe that the Suggses can show the prejudice

necessary to establish an ineffective-assistance claim with respect to their attorney’s

failure to raise or preserve a Blakely/Booker issue on appeal.

       For the reasons given above, the Suggses’ motions pursuant to § 2255 are

summarily DENIED, and the associated civil cases DISMISSED pursuant to RULE 4 of

the RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED STATES DISTRICT

COURTS. The clerk shall enter final judgment accordingly, and give immediate notice to

both Seantai and Bobby Suggs.



                                          SO ORDERED.



       ENTER: April 13, 2006


                                           s/ James T. Moody
                                          JUDGE JAMES T. MOODY
                                          UNITED STATES DISTRICT COURT
